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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION - CINCINNATI
FREDDIE GREEN, : Case No. 1:19-cv-929

Petitioner, : Judge Matthew W. McFarland
: Magistrate Judge Karen L. Litkovitz

vs.

WARDEN, LONDON
CORRECTIONAL INSTITUTION

Respondent.

 

ORDER ADOPTING REPORT AND RECOMMENDATIONS (DOC. 10)

 

The Court has reviewed the Report and Recommendations of United States
Magistrate Judge Karen L. Litkovitz (Doc. 10), to whom this case is referred pursuant to
28 U.S.C. § 636(b), and noting that no objections have been filed thereto and that the time
for filing such objections under Fed. R. Civ. P. 72(b) has expired, hereby ADOPTS said
Report and Recommendations in its entirety. Accordingly, the Court DENIES with
prejudice the petition for a writ of habeas corpus and CERTIFIES pursuant to 28 U.S.C.
§ 1915(a)(3) that an appeal of this Order would not be taken in good faith.

IT IS SO ORDERED.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

Meth wsdl dL

JUDGE MATTHEW W. McFARLAND
